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                       IN THE UNITED STATES DISTRICT COURT FOR
                          THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


BUBBLEGUM STUFF LTD,

       Plaintiff,                                 Case No.: 23-cv-16562

v.
                                                  Judge John J. Tharp, Jr.
THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE A,                         Magistrate Judge Jeannice W. Appenteng

       Defendants.


                            PRELIMINARY INJUNCTION ORDER

            Plaintiff Bubblegum Stuff LTD (“Bubblegum”) filed a Motion for Entry of a

     Preliminary Injunction against the against the fully interactive, e-commerce stores operating

     under the seller aliases identified in Schedule A to the Complaint and attached hereto

     (collectively, “Defendants”) and using at least the domain names identified in Schedule A (the

     “Defendant Domain Names”) and the online marketplace accounts identified in Schedule A

     (the “Online Marketplaces”). After reviewing the Motion and the accompanying record, this

     Court GRANTS Bubblegum’s Motion in part as follows.

            This Court finds Bubblegum has provided notice to Defendants in accordance with the

     Temporary Restraining Order entered December 15, 2023, ECF No. 17 (“TRO”), and Federal

     Rule of Civil Procedure 65(a)(1).

            This Court also finds, in the absence of adversarial presentation, that Bubblegum has

     provided a basis to conclude that Defendants have sold products bearing unauthorized copies

     of Bubblegum’s federally registered copyrights (the “PLS Copyrights”) and/or using infringing
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and counterfeit versions of Bubblegum’s federally registered trademarks (the “PLS

Trademarks”).

       This Court also finds that the injunctive relief previously granted in the TRO should

remain in place through the pendency of this litigation and that issuing this Preliminary

Injunction is warranted under Federal Rule of Civil Procedure 65. Evidence submitted in

support of this Motion and in support of Bubblegum’s previously granted Motion for Entry of

a TRO establishes that Bubblegum has demonstrated a likelihood of success on the merits; that

no remedy at law exists; and that Bubblegum will suffer irreparable harm if the injunction is

not granted.

       Specifically, Bubblegum has proved a prima facie case of trademark infringement

because (1) the PLS Trademarks are distinctive marks and are registered with the U.S. Patent

and Trademark Office on the Principal Register, (2) Defendants are not licensed or authorized

to use any of the PLS Trademarks, and (3) Defendants’ use of the PLS Trademarks is causing

a likelihood of confusion as to the origin or sponsorship of Defendants’ products with

Bubblegum. Bubblegum has also proved a prima facie case of copyright infringement because

it has demonstrated that (1) Bubblegum is the owner of the valid and enforceable PLS

Copyrights, and (2) Defendants, without any authorization from Bubblegum, or any right under

the law, have deliberately copied, displayed, distributed, reproduced, and/or made derivate

works incorporating the PLS Copyrights. Furthermore, Defendants’ continued and

unauthorized use of the PLS Trademarks and the PLS Copyrights irreparably harms

Bubblegum through diminished goodwill and brand confidence, damage to Bubblegum’s

reputation, loss of exclusivity, and loss of future sales. Monetary damages fail to address such

damage and, therefore, Bubblegum has an inadequate remedy at law. Moreover, the public


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interest is served by entry of this Preliminary Injunction to dispel the public confusion created

by Defendants’ actions. Accordingly, this Court orders that:

1.       Defendants, their officers, agents, servants, employees, attorneys, and all persons acting

         for, with, by, through, under, or in active concert with them be preliminarily enjoined and

         restrained from:

         a. using the PLS Trademarks or any reproductions, counterfeit copies, or colorable

            imitations in any manner in connection with the distribution, marketing, advertising,

            offering for sale, or sale of any product that is not a genuine Bubblegum product or

            not authorized by Bubblegum to be sold in connection with the PLS Trademarks;

         b. reproducing, distributing copies of, making derivative works of, or publicly

            displaying the PLS Copyrights in any manner without the express authorization of

            Bubblegum;

         c. passing off, inducing, or enabling others to sell or pass off any product as a genuine

            Bubblegum product or any other product produced by Bubblegum, that is not

            Bubblegum’s or not produced under the authorization, control, or supervision of

            Bubblegum and approved by Bubblegum for sale under the PLS Trademarks;

         d. committing any acts calculated to cause consumers to believe that Defendants’

            products are those sold under the authorization, control, or supervision of

            Bubblegum, or are sponsored by, approved by, or otherwise connected with

            Bubblegum; and

         e. manufacturing, shipping, delivering, holding for sale, transferring or otherwise

            moving, storing, distributing, returning, or otherwise disposing of, in any manner,

            products or inventory not manufactured by or for Bubblegum, nor authorized by


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            Bubblegum to be sold or offered for sale, and which bear any of Bubblegum’s

            trademarks or copyrights, including the PLS Trademarks and the PLS Copyrights,

            or any reproductions, counterfeit copies, or colorable imitations.

2.       Defendants shall not transfer or dispose of any money or other of Defendants’ assets in

         any of Defendants’ financial accounts.

3.       The domain name registries for the Defendant Domain Names, including, but not

         limited to, VeriSign, Inc., Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the

         Public Interest Registry, and the domain name registrars, including, but not limited to,

         GoDaddy      Operating     Company       LLC,       Name.com,     PDR     LTD.      d/b/a/

         PublicDomainRegistry.com, and Namecheap Inc., within seven (7) calendar days of

         receipt of this Order or prior to the expiration of this Order, whichever date shall occur

         first, shall disable the Defendant Domain Names and make them inactive and

         untransferable until further order by this Court.

4.       Upon Bubblegum’s request, Defendants and any third party with actual notice of this

         Order who is providing services for any of Defendants, or in connection with any of

         Defendants’ Online Marketplaces, including, without limitation, any online

         marketplace platforms such as eBay, Inc., AliExpress, Alibaba Group Holding Ltd.

         (“Alibaba”), Amazon.com, Inc., ContextLogic Inc. d/b/a Wish.com (“Wish.com”), and

         Dhgate (collectively, the “Third Party Providers”), shall, within seven (7) calendar days

         after receipt of such notice, provide to Bubblegum expedited discovery, limited to

         copies of documents and records in such person’s or entity’s possession or control

         sufficient to determine:




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         a. the identities and locations of Defendants, their officers, agents, servants,

            employees, attorneys, and any persons acting in active concert or participation with

            them, including all known contact information and all associated e-mail addresses;

         b. the nature of Defendants’ operations and all associated sales, methods of payment

            for services, and financial information, including, without limitation, identifying

            information associated with the Online Marketplaces and Defendants’ financial

            accounts and Defendants’ sales and listing history related to their respective Online

            Marketplaces; and

         c. any financial accounts owned or controlled by Defendants, including their officers,

            agents, servants, employees, attorneys, and any persons acting in active concert or

            participation with them, including such accounts residing with or under the control

            of any banks, savings and loan associations, payment processors or other financial

            institutions, including, without limitation, PayPal, Inc. (“PayPal”), Alipay,

            Wish.com, Alibaba, Ant Financial Services Group (“Ant Financial”), Amazon Pay,

            or other merchant account providers, payment providers, third party processors, and

            credit card associations (e.g., MasterCard and VISA).

5.       Upon Bubblegum’s request, those with notice of this Order, including the Third Party

         Providers as defined in Paragraph 4, shall within seven (7) calendar days after receipt of

         such notice, disable and cease displaying any advertisements used by or associated with

         Defendants in connection with the sale of counterfeit and infringing goods bearing the

         PLS Copyrights or using the PLS Trademarks.




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6.       Any Third Party Providers, including PayPal, Alipay, Alibaba, Ant Financial,

         Wish.com, and Amazon Pay, shall, within seven (7) calendar days of receipt of this

         Order:

         a. locate all accounts and funds connected to Defendants’ seller aliases, including, but

            not limited to, any financial accounts connected to the information listed in

            Schedule A hereto, the e-mail addresses provided for Defendants by third parties;

            and

         b. restrain and enjoin any such accounts or funds from transferring or disposing of any

            money or other of Defendants’ assets until further order by this Court.

7.       Bubblegum may provide notice of the proceedings in this case to Defendants, including

         service of process pursuant to Fed. R. Civ. P. 4(f)(3), and any future motions, by

         electronically publishing a link to the Pleadings, this Order, and other relevant

         documents on a website and by sending an e-mail with a link to said website to the e-

         mail addresses provided for Defendants by third parties. The Clerk of the Court is

         directed to issue a single original summons in the name of “Foshan Bifuyi Trading Co.,

         Ltd. and all other Defendants identified in the Operative Complaint” that shall apply to

         all Defendants. The combination of providing notice via electronic publication and e-

         mail, along with any notice that Defendants receive from domain name registrars or

         payment processors, shall constitute notice reasonably calculated under all

         circumstances to apprise Defendants of the pendency of the action and afford them the

         opportunity to present their objections.

8.       Bubblegum’s Complaint (ECF No. 7) and Exhibits 1-3 thereto (ECF Nos. 7-1, 7-2, 7-

         3), including Schedule A to the Complaint (ECF No. 7-3), Motion for TRO, Wood


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         Declaration and all exhibits thereto (ECF No. 13), and the TRO (ECF No. 17) are

         unsealed.

9.       Any Defendants that are subject to this Order may appear and move to dissolve or modify

         the Order as permitted by and in compliance with the Federal Rules of Civil Procedure

         and the Northern District of Illinois Local Rules. Any third party impacted by this Order

         may move for appropriate relief.

10.      The $148,000 bond posted by Bubblegum shall remain with the Court until a final

         disposition of this case or until this Preliminary Injunction is terminated.

                                                              SO ORDERED:




Date: January 12, 2024
                                                             John J. Tharp, Jr.
                                                             United States District Judge




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                                             Schedule A
NO.              DEFENDANT / SELLER ALIAS                         MARKETPLACE URL
 1             Foshan Bifuyi Trading Co., Ltd.                furryfriends.en.alibaba.com
 2    Shenzhen Victory Coming Household Product Co., Ltd.    victorycoming.en.alibaba.com
 3           Changzhou Wejump Safety Co., Ltd.                   wejump.en.alibaba.com
 4    Hebei Yimuyuan Water Saving Technology Co., Ltd.          yimuyuan.en.alibaba.com
 5                 Write Memories Store                     aliexpress.com/store/1101280274
 6                      1999 Store                          aliexpress.com/store/1101419856
 7                    China Town Store                      aliexpress.com/store/1101695449
 8                     Anju tribe Store                     aliexpress.com/store/1101769434
9                 Online-Home Party Store                   aliexpress.com/store/1101783167
10               House Global Supplies Store                aliexpress.com/store/1101918402
11                 Shop1102311785 Store                     aliexpress.com/store/1102310795
12                  Shop911424543 Store                     aliexpress.com/store/1102726828
13              Better Choice Life Store Store              aliexpress.com/store/1102753637
14      Lucky - Home Decoration And Tool Shop Store         aliexpress.com/store/1102774044
15                  JIA JIA Global Store                    aliexpress.com/store/1102854358
16                    Mx Home Store                         aliexpress.com/store/1102912640
17                 Shop1103204324 Store                     aliexpress.com/store/1103202307
18                    Our good times                        aliexpress.com/store/1101045794
19                    furnishing Store                      aliexpress.com/store/1101101591
20                   Satisfaction shop                      aliexpress.com/store/1101210890
21                Bring You Love Store                      aliexpress.com/store/1101213418
22                 Gardening Tool Store                     aliexpress.com/store/1101493404
23                  Duoyingduo Store                        aliexpress.com/store/1101528087
24              Home-Deco&Impr Set2 Store                   aliexpress.com/store/1101591884
25                 Jennifer's Garden Store                  aliexpress.com/store/1101642970
26                   Is Sunflowers Store                    aliexpress.com/store/1101732713
27                 YaYa-Pet Decor Store                     aliexpress.com/store/1101737143
28                 1541251707ervg Store                     aliexpress.com/store/1101738215
29            001 My Goods dropshipping Store               aliexpress.com/store/1101785075
30                 Green Gardenlife Store                   aliexpress.com/store/1101798487
31                   WTT-0011 Store                         aliexpress.com/store/1101834294
32                  A Wonderfully Store                     aliexpress.com/store/1101867222
33               Funnyhome Dropship Store                   aliexpress.com/store/1101935354
                                                    8
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NO.           DEFENDANT / SELLER ALIAS                         MARKETPLACE URL
34               tianxiashanhe01 Store                   aliexpress.com/store/1102011911
35         Galaxy Prosperity-Gardening Store             aliexpress.com/store/1102047213
36                 Gardenlife Store                      aliexpress.com/store/1102047882
37               VIGOR HOME Store                        aliexpress.com/store/1102337796
38          Happy Home Household Store                   aliexpress.com/store/1102341452
39              Shop1102424941 Store                     aliexpress.com/store/1102435021
40             Global Trade Home Store                   aliexpress.com/store/1102603322
41              Shop1102718158 Store                     aliexpress.com/store/1102720182
42                    elesimple                     amazon.com/sp?seller=A13NODGD289YDQ
43                    taoxinobm                     amazon.com/sp?seller=A19FG4XRE4WVV2
44                 JIUYEKEW US                      amazon.com/sp?seller=A1BDK2OUIGJ4XA
45                  Three oak trees                 amazon.com/sp?seller=A1CC7GJ0VZ92ND
46                  minchun shope                    amazon.com/sp?seller=A1GOMKK4WSNHKV
47                    YHZONE                        amazon.com/sp?seller=A1PUO9M14FXUMT
48                    Quinn Guy                      amazon.com/sp?seller=A241C7XE2I2K0A
49                  KINBOM Store                    amazon.com/sp?seller=A24M55ADMJQEC9
50                     yyreach                       amazon.com/sp?seller=A26V71CNIORKU
51                      erichip                     amazon.com/sp?seller=A274SZ0Q40YDBC
52                   sirwolf2023                    amazon.com/sp?seller=A27JLGN59QFQMH
53                    cuicui store                  amazon.com/sp?seller=A2DWUBNB3Z60DF
54                   BSRTOP-US                      amazon.com/sp?seller=A2GU087KWN7J4H
55                      Wope                        amazon.com/sp?seller=A2IAELT73X2DQW
56                     Somirow                       amazon.com/sp?seller=A2JX0XCNBXIC4
57                  ZHONG ROY                       amazon.com/sp?seller=A2M32LDHISYHL6
58                   sunny-lovely                   amazon.com/sp?seller=A2NHURT305LF72
59                     BYNNIX                       amazon.com/sp?seller=A2NP5Y3O1EKFXB
60                    biaterd-US                     amazon.com/sp?seller=A2P570E3VDLF3L
61                   Atrusu Store                   amazon.com/sp?seller=A2SMD5XT6TRS5O
62                  wangguoxia823                    amazon.com/sp?seller=A31O8SSK2WEP9
63                    QIAN-PU                       amazon.com/sp?seller=A33UEJW05W7IJL
64                   JIAWONG                        amazon.com/sp?seller=A34MKRSPC5OFPJ
65                   JOHNNY1                         amazon.com/sp?seller=A37XIEHAD1MS0
66                 SoonHua Direct                   amazon.com/sp?seller=A39SFJAEXY1S6W
67                     jvfepsk                       amazon.com/sp?seller=A3BMJ0XZFWT3F0
68                   XIAOjianjian                   amazon.com/sp?seller=A3FASRZUUAH6WC
                                               9
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NO.            DEFENDANT / SELLER ALIAS                        MARKETPLACE URL
69                  AYOKANITY                        amazon.com/sp?seller=A3FZSKSZOQ7OGI
70                 jiangshang sport                  amazon.com/sp?seller=A3I8XGPVAJEVOV
71            bozhoushizhuotiaoshangmao               amazon.com/sp?seller=A3JDEKF14ZZJIO
72                   GSYYDSZX                       amazon.com/sp?seller=A3NSEEXRMFDQVK
73                     Corillon                     amazon.com/sp?seller=A3V4WLYY5M7W85
74                      Herlloy                       amazon.com/sp?seller=A3VPP7J0858G9G
75                       Boert                       amazon.com/sp?seller=AKZUQBRALSA7S
76                     Jonercey                      amazon.com/sp?seller=AM28U4LJBMGBV
77                   Dedalan                         amazon.com/sp?seller=AMRCG6T4XM0QJ
78               ZUOLUN Official US                  amazon.com/sp?seller=ARD0WSK1JD79O
79                  Miller Center                    amazon.com/sp?seller=AT2UMUNHS9IBG
80                JBB Outdoor Store                   amazon.com/sp?seller=AVSY2U4QH07IZ
81                  Coulomb store                    amazon.com/sp?seller=AWKPSOYICQD4O
82                     zgangs                        amazon.com/sp?seller=AX6K7W5NPESET
83                      wuzhiH                       amazon.com/sp?seller=AXQL7CWAETP5Z
84                  JIN HONG JIA                      amazon.com/sp?seller=AYT3631BZLKH3
85                   leginyi Store                          dhgate.com/store/21635298
86                 lonyeebaba Store                         dhgate.com/store/21647539
87                   2013xoxo876                            ebay.com/usr/2013xoxo876
88                     Bacevici                              ebay.com/usr/bacevici75
89                   business0621                           ebay.com/usr/business0621
90                      cckobe                                 ebay.com/usr/cckobe
91                    chenru64                                ebay.com/usr/chenru64
92                   davidson-75                             ebay.com/usr/davidson-75
93                 goldenmall2017                          ebay.com/usr/goldenmall2017
94                    hayer-11                                ebay.com/usr/hayer-11
95                     i-brainy                                ebay.com/usr/i-brainy
96                    jewelleri                                ebay.com/usr/jewelleri
97                  minishopstore                           ebay.com/usr/minishopstore
98                  mount_8461                                ebay.ie/usr/mount_8461
 99                  newdeparture                           ebay.com/usr/newdeparture
100                    nirabe_0                               ebay.com/usr/nirabe_0
101                     PCRoar                               ebay.com/usr/pcroar2018
102                    power-ful                              ebay.com/usr/power-ful
103                   zezzobrand                             ebay.com/usr/zezzobrand
                                           10
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NO.            DEFENDANT / SELLER ALIAS                         MARKETPLACE URL
104               JustPlantsNThings                       etsy.com/shop/JustPlantsNThings
                                                     fruugo.us/suzhouyinshimaoyiyouxiangongsi/m-
105         Suzhouyinshimaoyiyouxiangongsi                               16115
106         CosyZoneHome&Living General             us.shein.com/store/home?store_code=8612063173
107                 greencorner                                    greencorner.ca
108                majestyandfriends                          majestyandfriends.com
109                    softcosts                                 softcosts.com.au
110                     Hbitsae                           temu.com/m-19553478715.html
111                    Zoylofg                           temu.com/m-2631310001633.html
112                    Judelike                           temu.com/m-339191761556.html
113                   RR Beauty                          temu.com/m-4014257449393.html
114                   Miya bay                           temu.com/m-5315589922629.html
115                    LESER                            temu.com/m-634418210277911.html
116                   Tool House                          temu.com/m-708600288429.html
117              YiGuangTong STORE                     walmart.com/reviews/seller/101094446
118              FEIXINXIN STORE                       walmart.com/reviews/seller/101110441
119                 Hengxinshuo                        walmart.com/reviews/seller/101220228
120                 Shaoke Store                       walmart.com/reviews/seller/101222076
121                   abatement                        walmart.com/reviews/seller/101232888
122                 POPLIS Co.Ltd                      walmart.com/reviews/seller/101232930
123                     acelit                         walmart.com/reviews/seller/101240020
124                 Qianzhuo Store                     walmart.com/reviews/seller/101240933
125                  Likede Store                      walmart.com/reviews/seller/101242576
126                    Guanlan                         walmart.com/reviews/seller/101246735
127               Caiboxing                            walmart.com/reviews/seller/101272472
128        GUANGNAN Technology Co., Ltd.               walmart.com/reviews/seller/101300508
129                   Yixin Store                      walmart.com/reviews/seller/101302660
130                  YUANXIAO                          walmart.com/reviews/seller/101304879
131                 Zhijielin Store                    walmart.com/reviews/seller/101308515
132                  Enjoybuyer                        walmart.com/reviews/seller/101309438
133                  Mingjingbo                        walmart.com/reviews/seller/101331139
134                   ShunSuo                          walmart.com/reviews/seller/101496467
135                LHCER STORE                         walmart.com/reviews/seller/101078489
136                  Caiboxing                         walmart.com/reviews/seller/101136642
137             Junhui Trading Co., Ltd                walmart.com/reviews/seller/101253947

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NO.            DEFENDANT / SELLER ALIAS                            MARKETPLACE URL
138                   Hongzhi Store                       walmart.com/reviews/seller/101302558
139                     Wanghero                          walmart.com/reviews/seller/101302606
140                    chibert2017                      wish.com/merchant/5846d28b6339b4290f2c2c78
141                  Joybuy Seller 1                            walmart.com/seller/18988
142                  Joybuy Seller 2                            walmart.com/seller/18988
143       Joybuy Marketplace(Selection) Seller 1              walmart.com/seller/101087374
144       Joybuy Marketplace(Selection) Seller 2              walmart.com/seller/101087374
145             Joybuy America Seller 1                       walmart.com/seller/101001636
146                 Joybuy Seller 3                             walmart.com/seller/18988
147       Joybuy Marketplace(Selection) Seller 3              walmart.com/seller/101087374
148              Joybuy Fashion Seller 1                      walmart.com/seller/101118004




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